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State of Israel INIW? 19°79

Ministry of Justice

Office of the State Attommey DvawNN Twn

Department of International Affairs nYTAN MwIP19
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15 November, 2023

Office of Children's Issues (CA/OCS/CI)
U.S. Department of State

SA-17, 9th Floor

WASHINGTON, DC 20522 - 1709
United States of America

By E-mail: MiddleEastiPCA@state.gov

Dear Sirs,

Re: Application pursuant to the Hague Convention on the Civil Aspects
of International Child Abduction — Ms. Perl Felberbaum

Attached please find an Application pursuant to the Hague Convention on the Civil
Aspects of International Child Abduction on behalf of Ms. Perl Felberbaum, who seeks
the return to Israel of her two children, Moshe and Blima Felberbaum.

Ms, Felberbaum claims that in April, 2023 she and her husband, Yaakov Felberbaum,
agreed that he could take the children to the United States for a two-week visit to his
family for the Passover holiday, and that they would to return to Israel in time for the
children to return to school after the Passover break, that being by 18 April, 2023. The
children were not returned at that time and to this day they remain in the United States,
despite the mother's objection. She further claims that he has cut off contact between
her and the children.

The mother claims that she cannot afford to hire an attorney. We attach the form for
pro bono assistance, signed by the mother. We would be very grateful if you could
provide names of attorneys who may be prepared to consider representing her and
commencing proceedings for the return of the children on her behalf. While Ms.
Felberbaum does speak some English, she will require assistance with translation.

Ms. Felberbaum states that she is very concerned for the children's well-being. She
states that the father does not allow contact with the children, and it is her understanding
that they are not in any educational framework. She therefore wishes that the welfare
authorities in the United States check the welfare of the children.

We would be grateful if you could confirm receipt of the application in this matter.
Should you have any questions, please do not hesitate to contact us.

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Email: ICA@justice.gov.il :7"NIT

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We thank you for your assistance and look forward to hearing from you.

Your truly,
Leslic Kaufman
Unit Chief — International Child Abduction

Department of International Affairs
Office of the State Attomey

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